        Case 2:12-cv-00859-LMA Document 1266 Filed 03/18/20 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA


 LASHAWN JONES, ET AL.                                CIVIL ACTION NO. 12-859

 VERSUS                                               SECTION I, DIVISION 1

 MARLIN GUSMAN, ET AL.                                JUDGE LANCE M. AFRICK
                                                      MAGISTRATE JUDGE NORTH


                                       STATUS REPORT

       The City of New Orleans (the “City) hereby submits a Status Report on the progress of the

Temporary Detention Center (“TDC”) renovation and the construction of Phase III of the Orleans

Justice Center (“OJC”) facility, in response to the Court’s Order of March 18, 2019. R.Doc. 1227.

       The Owner-Architect-Contractor (“OAC”) team meets on a weekly basis to ensure all

critical issues are addressed regarding TDC. The critical issue is currently the Millwork delivery.

The two-week look-ahead work includes: Complete concrete pour at different toilet locations &

the breezeway area; Tape/float of completed drywall; Continue plumbing fixture installation

Bldgs. #1 & #2. It is the City’s understanding that OPSO is preparing an operations and training

plan to receive the Hunt inmates, and the City defers to OPSO as to same. While the projected

construction completion date remains eight months from the notice to proceed (“NTP”), the City

is currently uncertain as to what construction delays may be caused by the COVID-19 pandemic.

       The City issued a March 2, 2020, NTP to Grace/Hebert Architects to start the Construction

Document (“CD”) Phase of OJC – Phase III. At the Court’s direction, a meeting was scheduled

for the Court, court appointed federal monitors and litigation parties to further review the current

Phase III design status at the office of Grace/Hebert Architects on March 18, 2020. At the Court’s
        Case 2:12-cv-00859-LMA Document 1266 Filed 03/18/20 Page 2 of 2



direction, the March 18, 2020 meeting with the Court, court appointed federal monitors and

litigation parties was subsequently canceled for rescheduling at a later date due to the COVID-19

pandemic.

                                             Respectfully submitted,


                                             /s/ Sunni J. LeBeouf
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                                             Counsel for the City of New Orleans



                               CERTIFICATE OF SERVICE

       I certify that on March 18, 2020, a copy of the foregoing has been served upon all parties

to this proceeding by CM/ECF notification.

                                             /s/ Sunni J. LeBeouf
                                             SUNNI J. LeBEOUF
